Case
 Case20-14201-pmm
      20-14201-pmm Doc
                    Doc174
                        171-3FiledFiled
                                    09/28/21
                                        09/28/21
                                               Entered
                                                   Entered09/28/21
                                                             09/28/21
                                                                   14:40:21
                                                                      12:55:51
                                                                             Desc
                                                                                Desc
                                                                                  Main
                         Proposed
                            Document Order Page
                                             Page
                                                1 of1 1of 1


                    THE UNITED STATES BANKRUPTCY COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

     IN RE:                                              BANKRUPTCY NO. 20-14201
     LARRY LEE WISSER and
     CATHLEEN RACHEL WISSER,                        CHAPTER NO. 12
     Debtors

     In re Objection to Proof of Claim 11-1
     docketed at CM/ECF # 135

                                             ORDER

             And now, after consideration of the Debtors’ Motion to Compel Production or,
    in the alternative, Apply a Negative Inference, the response thereto, and hearing held, if
    any, it is hereby

            ORDERED that the United States, acting through the Farm Service Agency –
    United States Department of Agriculture, shall produce the front and back of Check
    3091-09163425, Check 9031-09236509, and Check 3091-09276865 showing the checks as
    issued and proof of cashing of the same to the Debtors, as well as any documentation
    relating to any supervised bank accounts established in relation to those checks, within
    ten (10) days of the date of this Order.

            To the extent such documentation is held in the records of the United States
    Treasury, the United States, acting through the Farm Service Agency – United States
    Department of Agriculture, is ORDERED to coordinate with the United States Treasury
    to obtain and produce such documentation to the Debtors.

            In the event the United States, acting through the Farm Service Agency – United
    States Department of Agriculture is unwilling or unable to make such production, it is
    ORDERED that a negative inference shall apply, and such inference shall indicate the
    disbursement of $150,000.00 to the Debtors under such checks did not occur.

                                                         BY THE COURT:



           September 28, 2021
    Dated: __________________                            _____________________________
                                                         Hon. Patricia M. Mayer
